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United States
Southern Distict of fe,
FILED °

OCT 13 209)
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS 1”2? Ochsner, Clerk of Court

UNITED STATES OF AMERICA
Vs. CRIMINAL COMPLAINT
Ricardo Gonzalez

Bonifacio Castro-Garcia
Case Number: C-21-1272M

i, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about October 11,2021 in Kenedy County, in the
(Date)
Southern District of Texas, defendant, Ricardo Gonzalez

Bonifacio Castro-Garcia

each aiding, abetting and assisting one another, did knowingly or in a reckless disregard of the fact that an alien had
come to, entered, or remained in the United States in violation of law, transport, or move or attempt to transport or
move such alien within the United States by means of transportation or otherwise, in furtherance of such violation of
law

in violation of Title 8 United States Code, Section(s) 1324

I further state that | am a(n) Border Patrol Agent and that this complaint is based on the
Official Title

 

 

following facts:

See Attached Affidavit of U.S. Border Patrol Agent Aubrey Ward

Continued on the attached sheet and made a part of this complaint: [x ]yes [Jno

f../

Signature of Complainant
Submitted by reliable electronic means, sworn to, signature Aubrey Ward
attested telephonically per Fed.R.Crim.P.4.1, and probable cause Printed Name of Complainant
found on the:

October 13, 2021 at Corpus Christi, Texas
Date City and Sypte

 

Julie K. Hampton U.S. Magistrate Judge

 

Name and Title of Judicial Officer Te of Judicial Officer
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AFFIDAVIT
The information contained in this report/affidavit is based upon my personal participation in the
investigation, which included, but is not limited to information relayed to me by other agents and
officers participating in the investigation.

FACTS/DETAILS:

On October 11, 2021, at approximately 9:20 p.m., Border Patrol Agents were assigned roving
patrol duties north of the Javier Vega Jr. Border Patrol checkpoint on Highway 77 near Sarita,
Texas. Agents observed a light in color SUV with temporary paper plates travelling southbound
on Highway 77 suddenly brake and turn on the first crossover just south of the rest area. The
vehicle proceeded north. The agent made a turn at the next crossover to follow the vehicle north.
The agent observed the same SUV leaving the rest area and merging back on to Highway 77
north. The agent let the SUV pass him and he observed people attempting to get low in the
vehicle in what appeared to be an attempt to conceal themselves. The agent performed a vehicle
stop using a marked service vehicle with emergency equipment and another agent assisted as
backup.

As the agent approached the vehicle several male subjects wearing dark clothing hunched down
on top of folded down seats. The agents instructed the heavy-set male driver and front seat
passenger who was wearing a pink shirt to exit the vehicle. Both complied and were asked their
immigration status. The front seat passenger, later identified as Bonifacio Castro-Garcia,
admitted he was a national of Mexico illegally present in the United States. The driver, identified
as Ricardo Gonzalez was placed under arrest. Six other subjects in the vehicle were determined
to be nationals of Mexico illegally present in the United States. All subjects were placed under
arrest and transported to the Kingsville Border Patrol station for further investigation.

All subjects were read their rights in their preferred language and signed accordingly that they
understood their rights. Gonzalez, Castro-Garcia, and three out of the six illegal aliens were
willing to provide statements without an attorney present. The remaining subjects invoked their
right to legal counsel.

DEFENDANT STATEMENT: (Ricardo Gonzalez)

Gonzalez stated to agents immediately after being read his Miranda rights he was coming down
to Harlingen to sell a vehicle. When he was near the rest area on Highway 77 his vehicle started
to overheat so he turned around to park at the rest area. Two guys approached him and asked for
a ride. He agreed he would give them a ride. All the sudden more guys came and jumped in his
vehicle. He started driving but was quickly stopped by Border Patrol.

Gonzalez was advised to pause as his statement needed to be recorded and he decided to decline
to provide any more statements.

DEFENDANT STATEMENT: (Bonifacio Castro-Garcia)

Castro-Garcia stated to agents he was the one guiding the group of six illegal aliens through the
brush. They were all dropped off on the side of Highway 77 to walk around the checkpoint. He
gave instructions to the illegals to follow him by using his phone’s map to guide them. He had
two phones, but they ran out of battery. He borrowed one of the alien’s phones to communicate

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with the load driver Ricardo Gonzalez. Once they arrived at the pickup area next to the rest area
on Highway 77, he sent Gonzalez an audio message through WhatsApp to park in front of the
tanker truck at the rest area. As soon as Gonzalez parked, they all started to run towards the
vehicle and jumped in. He sat in the front seat while the other six jumped in the back.

Castro-Garcia stated he was charging $900 each alien to guide them through the brush,
Castro-Garcia identified Gonzalez on a photo lineup as the person who picked them up.

MATERIAL WITNESS STATEMENT: (Francisco Javier Hernandez-Lopez)
Hernandez-Lopez stated to agents he illegally crossed through Brownsville, Texas. He was
picked up from a hotel with five others. The brush guide was in the front seat, and they were
dropped off on the side of the road to circumvent the checkpoint. Castro-Garcia gave instructions
to the group to follow him in the brush. He stated Castro-Garcia had two phones but was
constantly on them and the batteries died. He asked to borrow his phone so he could continue
making calls.

Hernandez-Lopez gave consent to agents to look through his phone contents. Messages
corroborated his statement with an audio message from Castro-Garcia to a number saved as Rik
instructing the driver to park in front of the tanker truck.

Hernandez-Lopez identified Castro-Garcia as being the brush guide on a photo lineup. He could
not identify any of the photos shown for the driver but described him as a heavy-set male.

DISPOSITION:

The facts of this case were presented to the Assistant United States Attorney Office who
accepted Ricardo Gonzalez and Bonifacio Castro-Garcia for prosecution of 8 USC 1324, Alien
Smuggling. Francisco Javier Hernandez-Lopez will be held as a material witness.

 

‘Aubrey Ward
Border Patrol Agent

Submitted by reliable electronic means, sworn to, signature
attested telephonically per Fed.R.Crim.P.4.1, and probable
cause found on this day October 13, 2021.

 

Julies "Hanipton
United States Magistrate Judge

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